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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


D.J.C.V, a minor, and Mr. C.,
                                                            No. 18 Civ. 9115 (AKH)
                      Petitioners,

v.                                                                  ORDER

U.S. Immigration and Customs Enforcement, et al.,                        USDC SD'.\T
                                                                         DOCUMENT
                      Respondents.                                       ELECTRONICALLY FILED
                                                                         DOC #: _ _-.-:-c:--Jc__-1-
ALVIN K. HELLERSTEIN, U.S.D.J.:                                        I DATE FILED:        f   0/( ~/ig'
       Earlier today the Court ordered the government to release D.J.C.V. to his father

immediately. See ECF No. 21. The parties have conferred and agreed on a location for the

release of petitioner D.J.C.V., to occur today, October 15, 2018.

       SO ORDERED.

Dated: October 15, 2018
       New York, New York
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                                                             United States District Judge
